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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTI-DISTRICT LITIGATION

 IN RE: Roundup Products Liability
 Litigation                                                                     MDL No. 2741

                                    PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that the foregoing Motion to Transfer and

attachments were electronically filed on July 27, 2021, with the Clerk of the JPML using the

CM/ECF system and copies were sent via electronic mail on July 27, 2021 to counsel for all parties

as follows:

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